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THE LAW OFFICES OF
STUART B. HANDELMAN

A PROFESSIONAL CORPORATION WWW.CHICAGOLANDBANKRUPTCY.COM

 

30 N. Michigan Avenue, Suite 1603

Stuart B. Handelman

Jean M. Huang Chicago, Illinois 60602-3400

Kelly Smith Telephone (312) 360-0500
Fax (312) 360-1033

IC System, Inc.
P.O. Box 64378
St. Paul, MN 55164-0378

November 22, 2019

Client Name: Nicholas Cross

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To Whom It May Concern:

Ihave recently been retained by Nicholas Cross to assist in debt relief. The
purpose of this letter is to alert your company that any and all correspondence
regarding Nicholas Cross should be forwarded to my office.

‘Do not contact my client directly or indirectly. Pursuant to 15 U.S.C. §1692, under
the Fair Debt Collection Practices Act, prohibited contacts include, but are not limited
to, all forms of communication by letter, phone, fax, email, text messages, any
communication through social media platforms, or by any other means. This restricts
any contact with any employer, family member, friend, or other creditor of my client.
Upon receipt of this letter, any further direct or indirect contacts with the above-
referenced individual(s) must be terminated. In the event that legal representation for
the above-referenced individual(s) is terminated, then this office will contact you. If you

have any questions, please feel free to contact this office.

Again, please terminate all communications with my client. My client has also
instructed me that any debt you are attempting to collect is disputed.

I would advise your company to terminate all communications with my client. If
you have any questions about this letter, please feel free to contact me.

Regards,

/s/ Stuart Handelman

Stuart B. Handelman

Attorney at Law
SBH/sjr

    

  

EXHIBIT

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